Case 23-11240-TMH   Doc 243-4   Filed 10/11/23   Page 1 of 2




                      EXHIBIT C
             Case 23-11240-TMH          Doc 243-4     Filed 10/11/23      Page 2 of 2




From: Matthew B. Stein [mailto:MStein@kasowitz.com]
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Subject: In re AmeriFirst Financial, Inc., Case No. 23-11240 (TMH)

Laura,

We, together with Rob Dehney, have been selected by the official committee of unsecured
creditors to represent it in AmeriFirst. Do you have time this afternoon for an initial meeting to
discuss the case? I am generally available after 1pm today other than from 3:30-4. Thank you.

Best, Matt

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